8:04-cr-00158-LES-SMB   Doc # 90   Filed: 05/03/05   Page 1 of 1 - Page ID # 349



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )                      ORDER
                              )
               Defendant.     )
______________________________)


          IT IS ORDERED that sentencing in this matter is

rescheduled for:

                Thursday, May 19, 2005, at 9 a.m.,

Courtroom No. 5, Roman L. Hruska United States Courthouse 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 3rd day of May, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
